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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA,
              Plaintiff,               CIVIL ACTION
         v.                            NO. 1:10-CR-053-2-CAP-ECS
CORNELL BRUMFIELD,
              Defendant.

                               O R D E R

     This matter is currently before the court on two separate R&Rs

filed by the Magistrate Judge on February 18, 2011, and September

19, 2011, respectively [Doc. Nos. 70, 100].

     With regard to the September 19, 2011, R&R, the court notes

that no objections have been filed. After carefully considering the

R&R and the record in this case, the court receives the September

19, 2011, R&R [Doc. No. 100] with approval and ADOPTS it as the

opinion and order of this court.

     With regard to the February 18, 2011, R&R, the court notes

that the defendant has filed objections and requests that this

court conduct a de novo review after considering a complete version

of his post-hearing reply brief [Doc. No. 88].1 The court has

reviewed the complete post-hearing reply brief and conducted a de

novo review of the issues addressed in the February 18, 2011, R&R



     1
       Counsel for the defendant inadvertently filed an incomplete
draft version of the brief initially.
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in   light   of   the   arguments   presented   in   that   brief   and   the

defendant’s objections. After carefully considering these arguments

and the record in this case, the court receives the February 18,

2011, R&R [Doc. No. 70] with approval and ADOPTS it as the opinion

and order of this court.

      SO ORDERED, this 29th day of November, 2011.



                                    /s/ Charles A. Pannell, Jr.
                                    CHARLES A. PANNELL, JR.
                                    United States District Judge




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